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                            Exhibit 2
         Case 8:18-cv-02869-VMC-CPT Document 54-2 Filed 05/06/19 Page 2 of 5 PageID 657




From:                                David C. Banker
Sent:                                Wednesday, April 17, 2019 4:56 PM
To:                                  'Jordan Susman'
Cc:                                  Margo Arnold; Harold D. Holder; Anita Flowers
Subject:                             Frankel's request to depose John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelley


Jordan,  

My guy has not agreed to confidentiality agreement.  Give me dates for corporate representatives of Cayman, Hurry 
Trust, Scottsdale, and Alpine with knowledge of the following:  

    1.    Claims asserted in pre‐suit demand letter;
    2.    Claims asserted in initial complaint;
    3.    Claims asserted in amended complaint;
    4.    Plaintiffs’ interrogatory responses;
    5.    Plaintiffs’ responses to request for production of documents; and
    6.    Plaintiffs’ initial disclosures.

To the extent that the plaintiffs are not designating John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelly as 
corporate representatives, I will wish to depose them immediately after corporate representative depositions.  Week of 
April 29 or May 6 work for me.  Let’s set aside 2.5 days.  You can depose my guy after I depose your people.   

Happy to offer one of our conference rooms for the depositions, or to set at a court reporter’s office.  Let me know week 
and location which work for you, and I’ll send out notices.  



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From: Jordan Susman [mailto:jsusman@harderllp.com]
Sent: Monday, April 1, 2019 6:46 PM
To: David C. Banker
Cc: Margo Arnold; Harold D. Holder; Anita Flowers
Subject: RE: Frankel's request to depose John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelley
 
David,  
Per my email below, the ball is in your court. 
Once Chris produces responsive documents, we will want to take his depo in Tampa at same time as 
PMK depos. 
Also, let me know whether your client has agreed to language of Confidentiality Agreement (whether 
he will agreed to change “12(h)” in Paragraph 15 of the draft confidentiality agreement to 
“12(g)&(h)”), so that we may produce documents. 
 
Thanks  
 
From: David C. Banker <dbanker@bushross.com>  
Sent: Monday, April 1, 2019 6:07 AM 
To: Jordan Susman <jsusman@harderllp.com> 
Cc: Margo Arnold <marnold@harderllp.com>; Harold D. Holder <hholder@bushross.com>; Anita Flowers 
<aflowers@bushross.com> 
Subject: Frankel's request to depose John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelley 
 
Jordan,  
 
What is the status on deposition dates for your guys?  Let’s get them on the calendar.  
 


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From: David C. Banker
Sent: Friday, March 15, 2019 1:31 PM
To: 'Jordan Susman'
Cc: Margo Arnold; Harold D. Holder; Anita Flowers
Subject: RE: Frankel's request to depose John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelley
 
Thanks, Jordan.  I will want to depose Hurry as corporate representative of Trust (and perhaps other entities as well).  I 
suspect he would be most knowledgeable.  Topics will be allegations in amended complaint, plaintiffs’ initial disclosures,
and discovery responses.  Sorry to have gone dark on you.  I have been crazy busy on another case.  Should get some 
time to return to this case next week.  Talk to you soon.  
 


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mail and then delete the message. Thank you.


From: Jordan Susman [mailto:jsusman@harderllp.com]
Sent: Thursday, March 14, 2019 3:06 PM
To: David C. Banker
Cc: Margo Arnold; Harold D. Holder; Anita Flowers
Subject: RE: Frankel's request to depose John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelley
 
Trying to figure out dates. 
Location will depend on type of deposition. Individual depos would be where they are located. PMK 
depos would likely be in Tampa—and we would want to coordinate with Frankel’s depo (which will 
occur after he produces responsive documents.) 

 
From: David C. Banker <dbanker@bushross.com>  
Sent: Friday, March 8, 2019 4:22 AM 
To: Jordan Susman <jsusman@harderllp.com> 
Cc: Margo Arnold <marnold@harderllp.com>; Harold D. Holder <hholder@bushross.com>; Anita Flowers 
<aflowers@bushross.com> 
Subject: Frankel's request to depose John Hurry, Henry Diekmann, Joseph Walsh, and Jim Kelley 

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Jordan,  
 
Get me dates to depose the plaintiffs’ witnesses / representatives, John Hurry, Henry Diekmann, Joseph Walsh, and Jim 
Kelley.   


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